     Case 3:20-cr-00249-RS     Document 120-1     Filed 11/28/22    Page 1 of 32




 1 KING & SPALDING LLP
   MICHAEL J. SHEPARD (SBN 91281)
 2  mshepard@kslaw.com
   50 California Street, Suite 3300
 3
   San Francisco, California 94111
 4 Telephone:     +1 415 318 1221
   Facsimile:     +1 415 318 1300

      KERRIE C. DENT (Admitted pro hac vice)
 6     kdent@kslaw.com
 7    1700 Pennsylvania Avenue, NW, Suite 900
      Washington, DC 20006-4707
 8    Telephone:   +1 202 626 2394
      Facsimile:   +1 202 626 3737
 9
      Attorneys for Defendant
10
      ROWLAND MARCUS ANDRADE
11
                              UNITED STATES DISTRICT COURT
12
                           NORTHERN DISTRICT OF CALIFORNIA
13                                    SAN FRANCISCO DIVISION
14

15 UNITED STATES OF AMERICA,                          CASE NO.: 3:20-CR-00249-RS

16                       Plaintiff,                   DECLARATION OF KERRIE C.
                                                      DENT IN SUPPORT OF
17          V.
                                                      DEFENDANT ROWLAND MARCUS
      ROWLAND MARCUS ANDRADE,                         ANDRADE'S MOTION TO COMPEL
18
                                                      DISCOVERY
19                       Defendant.

20                                                    Date:        December 20, 2022
                                                      Time:        9:30 A.M.
21                                                    Judge:       Hon. Laurel Beeler

22

23

24

25

26
27

28

      DECLARATION OF KERRIE C. DENT ISO DEFENDANT'S       CASE NO. 3:20-CR-00249-RS-LBX
      MOTION TO COMPEL DISCOVERY
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 2 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 3 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 4 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 5 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 6 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 7 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 8 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 9 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 10 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 11 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 12 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 13 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 14 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 15 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 16 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 17 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 18 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 19 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 20 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 21 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 22 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 23 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 24 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 25 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 26 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 27 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 28 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 29 of 32
Case 3:20-cr-00249-RS   Document 120-1   Filed 11/28/22   Page 30 of 32
     Case 3:20-cr-00249-RS        Document 120-1         Filed 11/28/22      Page 31 of 32




 1
      identifying the communications removed, all relevant participants in those communications, and a
 2
      general description of the subject matter of the communications to afford defendants the
 3
      opportunity to challenge the potential privilege claims and seek discovery of potentially
 4
      exculpatory material. In fact, courts have ordered pre-trial disclosure of potentially privileged
 5
      communications made by co-conspirators notwithstanding potential privilege claims, noting those
 6
      statements could be admitted as impeachment evidence and/or co-conspirator statements and
 7
      explaining that “[it] is simply not fair” for defendants to learn of potential admissibility and
 8
      contents of such statements “in the midst of trial” because “the [contents] and the fact that it may
 9
      be admissible at trial are critical pieces of information to consider as [the defendant] prepares for
10
      trial and crafts his defense strategy.” See United States v. Nicholas, 594 F. Supp. 2d 1116, 1128
11
      (C.D. Cal. 2008) (ordering disclosure to defendant of a communication between his alleged co-
12
      conspirator and his wife, noting that the communication could be admissible at trial despite the
13
      potential protection under the martial communications privilege). Mr. Andrade needs to know
14
      now what was removed from his co-schemer’s iPhone based on purported privilege so that he can
15
      adequately prepare his defense.
16
             47.     Without the requested privilege log, Mr. Andrade has no sightlines into the
17
      “potentially privileged” items that were removed from Abramoff’s cellphone and whether any of
18
      those items are exculpatory and/or material to developing Mr. Andrade’s defense strategy. And
19
      given that Abramoff’s two-count information named Mr. Andrade as a co-conspirator, the
20
      government could potentially seek to introduce some of those “potentially privileged” items at
21
      trial. Obtaining a privilege log of the items removed would afford Mr. Andrade the opportunity
22
      to identify potentially exculpatory evidence for further discovery requests and/or give notice of
23
      potentially admissible statements that would help Mr. Andrade craft his defense strategy. This
24
      Court should therefore compel the government to produce a privilege log for the items removed
25
      from Abramoff’s cellphone.
26
             48.     Exhibits 21 and 30 are recordings, provided to the Court on thumb drives. The
27
      three additional recordings, referenced above in footnote 41, will be provided to the Court upon
28
                                              30
      DECLARATION OF KERRIE C. DENT ISO DEFENDANT’S                 CASE NO. 3:20-CR-00249-RS-LBX
      MOTION TO COMPEL DISCOVERY
     Case 3:20-cr-00249-RS       Document 120-1         Filed 11/28/22      Page 32 of 32




 1
      request.
 2
             I declare under penalty of perjury under the laws of the United States that the foregoing is
 3
      true and correct.
 4
             Executed on November 28, 2022, at Washington, District of Columbia.
 5

 6                                                     /s/ Kerrie C. Dent
                                                       Kerrie C. Dent
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                              31
      DECLARATION OF KERRIE C. DENT ISO DEFENDANT’S               CASE NO. 3:20-CR-00249-RS-LBX
      MOTION TO COMPEL DISCOVERY
